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  Attorney for Plaintiff
  HB Productions, Inc.

                           UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

   HB Productions, Inc.,                       )   Case No.: 1:19-cv-389-ACK-KJM
                                               )   (Copyright)
                        Plaintiff,             )
       vs.                                     )   FIRST AMENDED COMPLAINT;
                                               )   EXHIBITS 1-2; DECLARATION
   Senthil Vijay Segaran, Noa Lum,             )   OF STEPHANIE KESSNER
   Jacob Vela, Michael Lyons, Bryan            )
   Namba, Michael Limahai, Paul                )   (1) CONTRIBUTORY
   Wong, Chelsie Fletcher, Jessica             )       COPYRIGHT
   Beltran, Jericson Pastor, Matthew           )       INFRINGEMENT
   Cox, Angeline Craythorn, Jeremy             )   (2) INTENTIONAL
   Levien, Kenneth Evans, and                  )       INDUCEMENT
   Terry Thomas,                               )   (3) DIRECT COPYRIGHT
                                               )       INFRINGEMENT
                        Defendants.            )

                             FIRST AMENDED COMPLAINT

            Plaintiff HB Productions, Inc. (“Plaintiff”) files this First Amended Complaint

  against Defendants Senthil Vijay Segaran, Noa Lum, Jacob Vela, Michael Lyons,

  Bryan Namba, Michael Limahai, Paul Wong, Chelsie Fletcher, Jessica Beltran,

  Jericson Pastor, Matthew Cox, Angeline Craythorn, Jermey Levien, Kenneth Evans

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  and Terry Thomas (sometimes referred to collectively as “Defendants”) and alleges

  as follows:

                            I.     NATURE OF THE ACTION

            1.    Plaintiff brings this action to stop the massive piracy of its motion

  picture Hellboy brought on by websites under the collective names YTS and their

  users.

            2.    To halt Defendants’ illegal activities, Plaintiff brings this action under

  the United States Copyright Act of 1976, as amended, 17 U.S.C. §§ 101, et seq. (the

  Copyright Act”) and alleges that Defendants are liable for inducement, and direct

  and contributory copyright infringement in violation of 17 U.S.C. §§ 106 and 501.

                           II.    JURISDICTION AND VENUE

            3.    This Court has subject matter jurisdiction over this action pursuant to

  17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question),

  and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

            4.    Defendants solicit, transact, or are doing business within this

  jurisdiction, and have committed unlawful and tortious acts both within and outside

  this jurisdiction with the full knowledge that their acts would cause injury in this

  jurisdiction.

            5.    Previously identified as JOHN DOE, Defendant Senthil Vijay Segaran

  (“Defendant Segaran”) causes harm to Plaintiff’s business within this District by

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  diverting customers in this District to unauthorized Internet-based content

  distribution services through, at least, the interactive websites branded under the

  name “YTS”, particularly yts.lt.

            6.   Defendant Segaran has designed his interactive websites to individually

  target Hawaii users based upon their personal information such as web browsing

  history.

            7.   Defendant Segaran collects log files including the Internet Protocol

  (“IP”) address, Internet Service Provider (“ISP”) and browser type of each user who

  visits their interactive websites.

            8.   Upon information and belief, Defendant Segaran used cookies and web

  beacons to store information such as personal preferences of users who visit his

  websites.




            9.   Upon information and belief, Defendant Segaran obtains financial

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  benefit from their users in Hawaii via third party advertisements such as Google

  through the Google AdSense program.

            10.   Upon information and belief, Defendant Segaran uses the cookies, log

  files and/or web beacons to narrowly tailor the website viewing experience to the

  geolocation of the user. Particularly, users in Hawaii receive advertisements based

  upon their location and websites they have previously visited.




            11.   Particularly, Defendant Segaran encourages his users to register an

  account with YTS to post comments, make requests for more pirated content and

  block the advertisements.




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            12.   In the alternative, the Court has jurisdiction of Defendant Segaran

  pursuant to Fed. R. Civ. P. 4(k)(2), the so-called federal long-arm statute, for at least

  the following reasons: (1) Plaintiff’s claims arise under federal law; (2) the

  Defendant Segaran purposely directed his electronic activity into the United States

  and target and attract a substantial number of users in the United States and, more

  particularly, this District; (3) Defendant Segaran does so with the manifest intent of

  engaging in business or other interactions with the United States; (4) Defendant

  Segaran is not subject to jurisdiction in any state’s courts of general jurisdiction; and

  (5) exercising jurisdiction is consistent with the United States Constitution and laws.

            13.   Defendant Segaran uses or has used many United States based sources

  for operating its interactive websites such as the Internet hosting and nameserver

  company Cloudflare, Inc. (California), the Internet server companies Digital Ocean,

  Inc. (New York), Level 3 Communications, Inc. (Colorado), Digital Management

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  Partners, LLC dba GigeNET (Illinois), QuadraNet, Inc. (California), and Hurricane

  Electric Internet Services (California).

            14.   Defendant Segaran further uses the Virtual Private Network (“VPN”)

  provider London Trust Media (Colorado) and even The Onion Router (“TOR”) exit

  relays of the US Naval Research Labs in Washington, DC to conceal login records

  to their Cloudflare account when operating the interactive websites.

            15.   Defendant Segaran used the so-called tunneling service of Hurricane

  Electric Internet service to tunnel its true IPv4 address to an IPv6 address, thereby

  adding a further layer of subterfuge to conceal their true identity when logging onto

  their Cloudflare account.

            16.   Defendant Segaran promotes overwhelmingly if not exclusively

  motion pictures produced by United States companies on their interactive websites.

            17.   Defendant Segaran promotes Plaintiff’s motion picture prominently on

  their website to attract new users.




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            18.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

  because: (a) all or a substantial part of the events or omissions giving rise to the

  claims occurred in this District; and (c)(3) any of the Defendants not a resident of

  the United States may be sued in this District.

                                      III.   PARTIES

                                      A. The Plaintiff
            19.   The Plaintiff is a corporation organized and existing under the laws of

  the State of Nevada.        The Plaintiff has its principal offices in Los Angeles,

  California.

            20.   Plaintiff is the owner of the copyright for the motion picture in the

  Work “Hellboy”, (hereafter: the “Work”) a major motion picture released in 2018.

            21.   The Work is an action movie starring David Harbour, Milla Jovovich,

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  IanMcShane. The Work tells the story of a legendary half-demon superhero called

  to the English countryside to battle a trio of rampaging giants where he suddenly

  becomes caught in a clash between the supernatural and the human.

            22.   The Plaintiff is an affiliate of Millennium Media, a production

  company and distributor of a notable catalog of major motion pictures, including,

  among others, Rambo, The Expendables, Olympus Has Fallen and London Has

  Fallen. See www.millenniumfilms.com.

                                      B. The Defendants

            23.   Defendant Segaran operates an interactive website http://yts.lt

  (hereafter: “YTS website”) which includes a library of torrent files for copyright

  protected motion pictures, including Plaintiff’s. The torrent files can be used by a

  BitTorrent client application to download motion pictures for free.           Upon

  information and belief, Defendant Segaran previously operated the websites yts.ag

  and yts.am which all now redirect to the YTS website.

            24.   Upon information and belief, the name YTS mentioned in Defendant

  Segaran’s website is an abbreviation of YIFY Torrent Solutions. The name YIFY

  is derived from the name Yiftach Swery, the founder of YIFY Torrent Solutions.

            25.   Defendant Segaran states on the YTS website, “Here you will be able

  to browse and download YIFY movies in excellent 720p, 1080p and 3D quality…”



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            26.   The YTS website of Defendant Segaran is considered one of the most

  popular torrent sites in world. See https://torrentfreak.com/top-10-most-popular-

  torrent-sites-of-2019/ [last accessed on July 19, 2019].

            27.   Defendant Segaran, together with third parties that are registered users

  of the websites of Defendant Segaran, created the torrent files that were made

  available on the YTS websites.

            28.   Upon information and belief, the registered users of Defendant

  Segaran uses a process referred to as “ripping” to create a copy of motion pictures

  from either Blu-ray or legal streaming services.

            29.   Defendant Segaran includes the words such as [YTS.AM] or [YTS.LT]

  or at least the wording YTS in the titles of each of the torrent files made available
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 on their website in order to enhance their reputation for the quality of its torrent files

 and attract users to their interactive YTS website.

           30.   Techmodo Limited is a fictional entity organized under the laws of

 England and Wales. Defendant Segaran is an individual, the sole shareholder of

 Techmodo Limited and a citizen of India and previously resided in England.

           31.   As of July 19, 2019, the whois search records for the registrant of the

 YTS website (yts.lt) show registrant name of “TechModo Limited” at 85 Great

 Portland Street, First Floor, London W1W 7LT, in England.                             See

 https://www.domreg.lt/en/services/whois/?search=yts.lt [Last Accessed on July 19,

 2019.




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           32.   Techmodo Limited was declared dissolved by the Registrar of

 Companies for England and Wales on April 30, 2019. It was revived or newly

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 incorporated on or around August of 2019 by Defendant Segaran.

           33.   Cloudflare, Inc. provides hosting and nameserver service for the

 interactive websites of Defendant Segaran.

           34.   A registered user of the website of Defendant Segaran logged into the

 website from IP address 2001:470:b07e:0:d83a:a3ff:fe5e:ca (“IPv6 address”) on

 2018-09-19 12:27:05.71563 UTC. The IPv6 address belongs to the California

 company Hurricane Electric Internet Services (“Hurricane”).

           35.   Hurricane has indicated that an individual who identified himself by a

 verified Hotmail email address from a location in Ontario, Canada subscribed for

 the so-called tunneling service with Hurricane to tunnel its true IPv4 address to the

 IPv6 address of Hurricane.

           36.   Hurricane indicates that the true IPv4 address is 24.36.252.95.

           37.   Publicly available information indicates that the IPv4 address

 24.36.252.95 belongs to the Canadian Internet Service Provider Cogeco Cable

 Canada Inc. in Ontario.

           38.   Upon information and belief, the subscriber at IPv4 address

 24.36.252.95 in Ontario, Canada is at least one of the operators of the YTS website.

           39.   The operators of the website used an email address associated with the

 US Company Microsoft to register for the service via the IPv4 tunneling service.

           40.   Previously identified as DOES 1-6, 8-11, 14, and 16-17, Defendants

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 Noa Lum, Jacob Vela, Michael Lyons, Bryan Namba, Michael Limahai, Paul

 Wong, Chelsie Fletcher, Jessica Beltran, Jericson Pastor, Matthew Cox, Angeline

 Craythorn, Kenneth Evans, and Terry Thomas (“Defendants YTS users”) are users

 of the interactive websites of Defendant Segaran.

           41.   The Defendants YTS users are members of a group of BitTorrent users

 or peers whose computers are collectively interconnected for the sharing of a

 particular unique file, otherwise known as a “swarm”.         The particular file a

 BitTorrent swarm is associated with has a unique “hash” number, which in this case

 is: SHA1: E1F8020C12028A1C9AC791E790FDC53F3F65A3E4 (the “Unique

 Hash Number”). The file name is Hellboy (2019) [WEBRip] [1080p] [YTS.LT].

           42.   Upon information and believe, Each of the Defendants YTS users

 resides in Hawaii and received from Plaintiff’s agent at least a first notice per 17

 U.S.C. 512(a) of the Digital Millennium Copyright Act (“DMCA notice”)

 requesting the individual to stop infringement of the Work or other Works via

 BitTorrent protocol.

           43.   Charter Communications LLC dba Spectrum (“Spectrum”) provides

 the Internet service for Defendants YTS users. Spectrum provided the subscriber

 identities of the Internet Protocol addresses associated with the Defendants YTS

 users.

                                    IV.   JOINDER

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           44.   Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

 properly joined because, as set forth in more detail below, the Plaintiffs assert: (a) a

 right to relief arising out of the same transaction, occurrence, or series or

 transactions, namely (i) the distribution of the torrent file associated with Plaintiff’s

 Work via the YTS website of Defendant Segaran to Defendants YTS users; (ii) the

 inducement by Defendant Segaran of the direct infringements of Defendants YTS

 users; and (iii) the infringement complained of herein by each of the Defendants was

 part of a series of transactions over the course of a relatively short period of time,

 involving the exact same piece of the Plaintiff’s copyrighted Work, and was

 accomplished by the Defendants acting in concert with each other; and (b) there are

 common questions of law and fact.

                           V.     FACTUAL BACKGROUND
           A. The Plaintiff Owns the Copyright to the Work

           45.   The Plaintiff is the owner of the copyright in the Work. The Work is

 the subject of a copyright registration, and this action is brought pursuant to 17

 U.S.C. § 411. See Exhibit “2”.

           46.   The Work is a motion picture currently offered for sale in commerce.

           47.   Defendants had notice of Plaintiff’s rights through at least the credits

 indicated in the content of the motion pictures which bore proper copyright notices.

           48.   Defendants also had notice of Plaintiff’s rights through general

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 publication and advertising associated with the motion picture, and packaging and

 copies, each of which bore a proper copyright notice.

           B. Defendants Used BitTorrent To Infringe the Plaintiff’s Copyright

           49.   BitTorrent is one of the most common peer-to-peer file sharing

 protocols (in other words, set of computer rules) used for distributing large amounts

 of data.

           50.   The BitTorrent protocol’s popularity stems from its ability to distribute

 a large file without creating a heavy load on the source computer and network. In

 short, to reduce the load on the source computer, rather than downloading a file

 from a single source computer (one computer directly connected to another), the

 BitTorrent protocol allows users to join a "swarm" of host computers to download

 and upload from each other simultaneously (one computer connected to numerous

 computers).

           1. Defendants YTS users installed a BitTorrent Client onto his or her

 Computer

           51.   A BitTorrent Client is a software program that implements the

 BitTorrent Protocol. There are numerous such software programs which can be

 directly downloaded from the Internet.

           52.   Once installed on a computer, the BitTorrent Client serves as the user’s


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 interface during the process of uploading and downloading data using the BitTorrent

 protocol.

           53.   Defendants YTS users installed a BitTorrent Client onto their

 respective computer.

           2. The Initial Seed, Torrent, Hash and Tracker

           54.   A BitTorrent user that wants to upload a new file, known as an “initial

 seeder,” starts by creating a “torrent” descriptor file using, for example, the Client

 he or she installed onto his or her computer.

           55.   The Client takes the target computer file, the “initial seed,” here the

 copyrighted Work, and divides it into identically sized groups of bits known as

 “pieces.”

           56.   The Client then gives each one of the computer file’s pieces, in this

 case, pieces of the copyrighted Work, a random and unique alphanumeric identifier

 known as a “hash” and records these hash identifiers in the torrent file.

           57.   When another peer later receives a particular piece, the hash identifier

 for that piece is compared to the hash identifier recorded in the torrent file for that

 piece to test that the piece is error-free. In this way, the hash identifier works like

 an electronic fingerprint to identify the source and origin of the piece and that the

 piece is authentic and uncorrupted.

           58.   Torrent files also have an "announce" section, which specifies the URL

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 (Uniform Resource Locator) of a “tracker,” and an "info" section, containing

 (suggested) names for the files, their lengths, the piece length used, and the hash

 identifier for each piece, all of which are used by Clients on peer computers to verify

 the integrity of the data they receive.

           59.   The “tracker” is a computer or set of computers that a torrent file

 specifies and to which the torrent file provides peers with the URL address(es).

           60.   The tracker computer or computers direct a peer user’s computer to

 other peer user’s computers that have particular pieces of the file, here the

 copyrighted Work, on them and facilitates the exchange of data among the

 computers.

           61.   Depending on the BitTorrent Client, a tracker can either be a dedicated

 computer (centralized tracking) or each peer can act as a tracker (decentralized

 tracking.)

           3. Torrent Sites

           62.   “Torrent sites”, such as the website YTS of the Defendant Segaran, are

 websites that index torrent files that are currently being made available for copying

 and distribution by people using the BitTorrent protocol. There are numerous

 torrent websites.

           63.   Upon information and belief, Defendants went to a torrent site to

 upload and download Plaintiff’s copyrighted Work.

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           64.   Upon information and belief, each of Defendants YTS users went to

 the torrent site YTS of Defendant Segaran to download Plaintiff’s copyrighted

 Work.

           4. Uploading and Downloading a Work Through a BitTorrent Swarm

           65.   Once the initial seeder has created a torrent and uploaded it onto one

 or more torrent sites, then other peers begin to download and upload the computer

 file to which the torrent is linked (here the copyrighted Work) using the BitTorrent

 protocol and BitTorrent Client that the peers installed on their computers.

           66.   The BitTorrent protocol causes the initial seeder’s computer to send

 different pieces of the computer file, here the copyrighted Work, to the peers

 seeking to download the computer file.

           67.   Once a peer receives a piece of the computer file, here a piece of the

 copyrighted Work, it starts transmitting that piece to the other peers.

           68.   In this way, all of the peers and seeders are working together in what

 is called a “swarm.”

           69.   Here, Defendants participated in the same swarm and directly

 interacted and communicated with other members of that swarm through digital

 handshakes, the passing along of computer instructions, uploading and

 downloading, and by other types of transmissions.

           70.   In this way, and by way of example only, one initial seeder can create

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 a torrent that breaks a movie up into hundreds or thousands of pieces saved in the

 form of a computer file, like the Work here, upload the torrent onto a torrent site,

 and deliver a different piece of the copyrighted Work to each of the peers. The

 recipient peers then automatically begin delivering the piece they just received to

 the other peers in the same swarm.

           71.   Once a peer has downloaded the full file, the BitTorrent Client

 reassembles the pieces and the peer is able to view the movie. Also, once a peer has

 downloaded the full file, that peer becomes known as “an additional seed,” because

 it continues to distribute the torrent file, here the copyrighted Work.

           5. The Plaintiff’s Computer Investigator Identified the Defendants YTS

           users’ IP Addresses as Participants in a Swarm That Was Distributing the

           Plaintiff’s Copyrighted Work

           72.   The Plaintiff retained Maverickeye UG (“MEU”) to identify the IP

 addresses that are being used by those people that are using the BitTorrent protocol

 and the Internet to reproduce, distribute, display or perform the Plaintiff’s

 copyrighted Work.

           73.   MEU used forensic software to enable the scanning of peer-to-peer

 networks for the presence of infringing transactions.

           74.   MEU extracted the resulting data emanating from the investigation,

 reviewed the evidence logs, and isolated the transactions and the IP addresses

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 associated therewith for the files identified by the SHA-1 hash value of the Unique

 Hash Number.

           75.   The IP addresses, Unique Hash Number, and hit dates contained on

 Exhibit “1” accurately reflect what is contained in the evidence logs, and show that

 Defendants YTS users have copied a piece of the Plaintiff’s copyrighted Work

 identified by the Unique Hash Number.

           76.   The Defendants YTS users’ computers used the identified IP address

 to connect to the investigative server from a computer in this District in order to

 transmit a full copy, or a portion thereof, of a digital media file identified by the

 Unique Hash Number.

           77.   MEU’s agent analyzed each BitTorrent “piece” distributed by the IP

 address listed on Exhibit 1 and verified that re-assemblage of the pieces using a

 BitTorrent Client results in a fully playable digital motion picture of the Work.

           78.   MEU’s agent viewed the Works side-by-side with the digital media

 file that correlates to the Unique Hash Number and determined that they were

 identical, strikingly similar or substantially similar.

           C. A Registered User of the website of Defendant Segaran is the initial

           Seeder of the Work

           79.   A registered user of the website of Defendant Segaran was the initial

 seeder who copied the Work and together with the Defendant Segaran created the

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 torrent file “Hellboy (2019) [WEBRip] [1080p] [YTS.LT]”. Exhibit “1”.

           80.   Accordingly, Defendant Segaran is the initial contributor and create of

 the Swarm identified by the Unique Hash Number.

           81.   Defendant Segaran does not have a license from Plaintiff to copy

 Plaintiff’s Work.

           D. Defendant Segaran distributed the torrent file of the Work

           82.   Defendant Segaran made the torrent file “Hellboy (2019) [WEBRip]

 [1080p] [YTS.LT]” available to users in Hawaii such as Defendants YTS users, the

 United States and the entire World to download from his interactive YTS website.

           83.   Defendant Segaran did not have a license from Plaintiff to distribute

 copies of Plaintiff’s Work.

           E. Defendant Segaran induce infringements of the Work

           84.   Users of the Defendant Segaran’s interactive website use the website

 for its intended and unquestionably infringing purposes, most notably to obtain

 immediate, unrestricted, and unauthorized access to unauthorized copies of

 Plaintiff’s Copyrighted Work.

           85.   Defendant Segaran promotes his website for overwhelmingly, if not

 exclusively, infringing purposes, and that is how the users use the websites.

           86.   The commercial value of Defendant Segaran’s website depends on

 high-volume use of unauthorized content through the website. Defendant Segaran

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 promises his users reliable and convenient access to all the content they can watch

 and users visit the websites based on Defendant Segaran’s apparent success in

 delivering infringing content to its customers.


                           VI. FIRST CLAIM FOR RELIEF
                   (Intentional Inducement – Against Defendant Segaran)

           87.   Plaintiff re-alleges and incorporates by reference the allegations

 contained in each of the foregoing paragraphs.

           88.   Plaintiff is the copyright owner of the Work which contains an original

 work of authorship.

           89.   Defendant Segaran had actual knowledge of third parties’ infringement

 of Plaintiff’s exclusive rights under the Copyright Act.

           90.   Defendant Segaran intentionally induced the infringement of

 Plaintiff’s exclusive rights under the Copyright Act, including infringement of

 Plaintiff’s exclusive right to publicly distribute copies of Copyrighted Works.

           91.   As intended and encouraged by Defendant Segaran, the website

 provides torrent files that connect users to Torrent sources and/or sites that deliver

 copies of Plaintiff’s Copyrighted Works. The operators of these Torrent sources

 directly infringe Plaintiff’s exclusive rights by providing unauthorized copies of the

 works to the public, including to users of Defendant Segaran’s website.

           92.   Once the user of Defendant Segaran’s website has obtained a complete

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 copy of the Plaintiff’s Copyrighted Works, that particular user also becomes another

 Torrent source that delivers copies of Plaintiff’s Copyrighted Works.

           93.   Defendant Segaran induces the aforementioned acts of infringement by

 supplying the torrent file that facilitates, enables, and creates direct links between its

 users and the infringing Torrent source, and by actively inducing, encouraging and

 promoting the use of the website for blatant copyright infringement.

           94.   Defendant Segaran’s intentional inducement of the infringement of

 Plaintiff’s rights in its Copyrighted Work constitutes a separate and distinct act of

 infringement.

           95.   Defendant Segaran’s inducement of the infringement of Plaintiff’s

 Copyrighted Work is willful, intentional, and purposeful, and in disregard of and

 with indifference to the rights of Plaintiff.

           96.   Defendant Segaran’s actions are a direct and proximate cause of the

 infringements of Plaintiff’s Work.

                            VII. SECOND CLAIM FOR RELIEF
                  (Contributory Copyright Infringement based upon Material
                          Contribution – Against Defendant Segaran)

           97.   Plaintiff re-allege and incorporate by reference the allegations

 contained in each of the foregoing paragraphs.

           98.   Defendant Segaran had actual or constructive knowledge of

 infringement of Plaintiff’s exclusive rights under the Copyright Act. Defendant

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 Segaran knowingly and materially contributes to such infringing activity.

           99.   Defendant Segaran knowingly and materially contribute to the

 infringement of Plaintiff’s exclusive rights under the Copyright Act, including

 infringement of Plaintiff’s exclusive right to distribute the Work. Defendant Segaran

 design and promote the use of the YTS website to provide torrent files that connect

 customers to unauthorized online torrent sources to download copies of Plaintiff’s

 Copyrighted Work.       The operators of these torrent sources directly infringe

 Plaintiff’s distribution rights by providing copies of the Work to the public,

 including to YTS website users. The operators, or others operating in concert with

 them, control the facilities and equipment used to store and deliver copies of the

 content, and they actively and directly cause the content to be distributed when users

 run the torrent file obtained from the YTS website.

           100. Defendant Segaran knowingly and materially contributes to the

 aforementioned acts of infringement by supplying the website that facilitates,

 encourages, enables, and creates direct links between website users and infringing

 operators of the Torrent services, and by actively encouraging, promoting, and

 contributing to the use of the website for blatant copyright infringement.

           101. Defendant Segaran’s knowing and material contribution to the

 infringement of Plaintiff’s rights in the Copyrighted Work constitutes a separate and

 distinct act of infringement.

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           102. Defendant Segaran’s knowing and material contribution to the

 infringement of Plaintiff’s Copyrighted Work is willful, intentional, and purposeful,

 and in disregard of and with indifference to the rights of Plaintiff.

           103. As a direct and proximate result of the infringement to which Defendant

 Segaran knowingly and materially contributes, Plaintiff is entitled to damages and

 Defendant Segaran’s profits in amounts to be proven at trial.

           104. Defendant Segaran obtained a direct financial interest, financial

 advantage, and/or economic consideration from the infringements in Hawaii as a

 result of their infringing actions in the United States.

           105. Defendant Segaran’s actions are a direct and proximate cause of the

 infringements of Plaintiff’s Work.

                             VIII. THIRD CLAIM FOR RELIEF
               (Contributory Copyright Infringement against all Defendants based
                          upon participation in the BitTorrent Swarm)


           106. Plaintiff re-alleges and incorporates by reference the allegations

 contained in each of the foregoing paragraphs.

           107. By participating in the BitTorrent swarm with others, Defendants

 induced, caused or materially contributed to the infringing conduct of others.

           108. Plaintiffs did not authorize, permit, or provide consent to the

 Defendants inducing, causing, or materially contributing to the infringing conduct

 of others.
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           109. Defendants knew or should have known that the other BitTorrent users

 in a swarm with it were directly infringing the Plaintiff’s copyrighted Work by

 copying constituent elements of the registered Work that are original. Indeed,

 Defendants directly participated in and therefore materially contributed to others’

 infringing activities.

           110. The Defendants’ infringements were committed “willfully” within the

 meaning of 17 U.S.C. § 504(c)(2).

           111. By engaging in the contributory infringement alleged in this

 Complaint, the Defendants deprived not only the producer of the Work from income

 that could have been derived when this film was shown in public theaters and

 offered for sale or rental, but also all persons involved in the production and

 marketing of this film, numerous owners of local theaters and retail outlets in

 Hawai’i and their employees, and, ultimately, the local economy. The Defendants’

 misconduct therefore offends public policy.

           112. The Plaintiff has suffered damages that were proximately caused by

 the Defendants’ contributory copyright infringement including, but not limited to

 lost sales, price erosion, and a diminution of the value of its copyright.

                            IX. FOURTH CLAIM FOR RELIEF
                   (Direct Copyright Infringement against all Defendants)

           113. Plaintiff re-alleges and incorporates by reference the allegations

 contained in each of the foregoing paragraphs.
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           114. Plaintiff is the copyright owner of the Work which contains an original

 work of authorship.

           115. Defendant Segaran copied the constituent elements of the Work when

 creating the torrent file.

           116. Defendant Segaran’s users copied the constituent elements of the

 Work.

           117. Plaintiff did not authorize, permit, or provide consent to Defendants to

 copy, reproduce, redistribute, perform, or display their Works.

           118. As a result of the foregoing, Defendants violated the Plaintiff’s

 exclusive right to: (A) Reproduce the Work in copies, in violation of 17 U.S.C. §§

 106(1) and 501; (B) Redistribute copies of the Work to the public by sale or other

 transfer of ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§

 106(3) and 501; (C) Perform the copyrighted Work, in violation of 17 U.S.C. §§

 106(4) and 501, by showing the Work’s images; and, (D) Display the copyrighted

 Work, in violation of 17 U.S.C. §§ 106(5) and 501, by showing individual images

 of the Work non-sequentially and transmitting said display of the Work by means

 of a device or process to members of the public capable of receiving the display (as

 set forth in 17 U.S.C. § 101’s definition of “publicly” display.)

           119. Each of the Defendants’ infringements was committed “willfully”

 within the meaning of 17 U.S.C. § 504(c)(2).

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           120. The Plaintiffs have suffered damages that were proximately caused by

 each of the Defendants’ copyright infringements including, but not limited to lost

 sales, price erosion, and a diminution of the value of its copyright.

                                 PRAYER FOR RELIEF

           WHEREFORE, the Plaintiff respectfully requests that this Court:

           (A) enter temporary, preliminary and permanent injunctions enjoining each

 Defendant from continuing to directly infringe and contribute to infringement of the

 Plaintiffs’ copyrighted Works;

           (B) Entry of an Order pursuant to 17 U.S.C. §512(j) and/or 28 U.S.C §1651(a)

 that, Cloudflare and any other service provider cease providing service for the

 website: (i) yts.lt; and (iii) any mirror websites in concert with yts.lt such as, but not

 limited to yts.am and yts.ag, immediately cease said service;

           (C) that, upon Plaintiff’s request, those in privity with Defendants and those

 with notice of the injunction, including any Internet search engines, Web hosts,

 domain-name registrars, and domain name registries and/or their administrators that

 are provided with notice of the injunction, cease facilitating access to any or all

 domain names and websites through which Defendants engage in the

 aforementioned infringements;

           (D) award the Plaintiff’s actual damages and Defendants’ profits in such

 amount as may be found; alternatively, at Plaintiff’s election, for maximum statutory

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 damages of $150,000 against Defendant Senthil Segaran, and statutory damages of

 $750 against each of Defendants Noa Lum, Jacob Vela, Michael Lyons, Bryan

 Namba, Michael Limahai, Paul Wong, Chelsie Fletcher, Jessica Beltran, Jericson

 Pastor, Matthew Cox, Angeline Craythorn, Jeremy Levien, Kenneth Evans, and

 Terry Thomas pursuant to 17 U.S.C. § 504-(a) and (c);

           (E) award the Plaintiff its reasonable attorneys’ fees and costs pursuant to 17

 U.S.C. § 505; and

           (F) grant the Plaintiff any and all other and further relief that this Court deems

 just and proper.

           The Plaintiff hereby demands a trial by jury on all issues properly triable by

 jury.

           DATED: Kailua-Kona, Hawaii, December 20, 2019.


                                      CULPEPPER IP, LLLC


                                      /s/ Kerry S. Culpepper
                                      Kerry S. Culpepper

                                      Attorney for Plaintiff
                                      HB Productions, Inc.




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